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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re Petition of:                                Case Number 18-51223

UAW-CHRYSLER SKILL DEVELOPMENT                    Honorable Paul D. Borman
AND TRAINING PROGRAM,

In the Matter of:

UNITED STATES OF AMERICA,                         Case Number 17-20406



       v.

D-2 ALPHONS IACOBELLI,

     Defendant.
________________________________/
                            INDEX OF EXHIBITS

EXHIBIT              DESCRIPTION

B                    October 20, 2014, Letter from Stevenson Keppelman
                     Associates to Susan Gilmore Fultz of the Employee Benefits
                     Security Administration
C                    March 30, 2015, Letter from Stevenson Keppelman
                     Associates to Meghann Wilkinson of the Employee Benefits
                     Security Administration
D                    NTC Earnings, Expenditures & Reserve Balance Chart
                     (1999-2014 Fiscal Years)
E                    September 2015 Fiat Chrysler Automobiles Unpublished
                     Letter
